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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

V.                           CASE NO. 4:18-cr-00007-BSM-1

PHILLIP HILL                                                                         DEFENDANT

                    ORDER MODIFYING CONDITIONS OF RELEASE

       Defendant appeared before the Court today on the Government’s Motion to Revoke Pretrial

Release (DE #24). Defendant admitted violations of his conditions of release; however, the Court

finds that there are still conditions that can be fashioned for Defendant’s continued release pending

trial. Therefore, rather than revoking bond at this time, it is the Order of the Court to modify his

conditions to allow for probation to search the cell phone of his third-party custodian. All other

conditions of pretrial release remain in effect.

       SO ORDERED this 25th day of January, 2018.



                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
